Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 1 of 11



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   AROUND THE CLOCK A/C SERVICE,                                 CASE NO.: 0:19-cv-62437-KMM
   LLC,                                                          Magistrate Judge Hunt
                 Plaintiff,
   vs.

   ANTHONY PERERA, DOUGLAS
   PERERA, SR., and AIR PROS, LLC,

                     Defendants.
   ___________________________________/

                            ANSWER AND AFFIRMATIVE DEFENSES

          Defendant, Air Pros, LLC (“Defendant”), responds to the First Amended Complaint

   (“Amended Complaint”) as follows:

          1.      Defendant denies the allegations contained in paragraph 1 of the Amended

   Complaint.

          2.      Defendant denies the allegations contained in paragraph 2 of the Amended

   Complaint.

          3.      In response to the allegations contained in paragraph 3 of the Amended Complaint,

   Defendant admits that this purports to be an action for injunctive and other relief under the Lanham

   Act and other laws, but denies that Plaintiff is entitled to any such relief and all other allegations

   contained therein.

                                                PARTIES

          4.      Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations in paragraph 4 of the Amended Complaint.

          5.      In response to the allegations contained in paragraph 5 of the Amended Complaint,

   Defendant admits that Anthony Perera is the President and owner of Air Pros LLC, that he is over
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 2 of 11
                                                                         Case No. 0:19-cv-62437-KMM


   the age of 18, and that he resides in Broward County, Florida, but denies all other allegations

   contained therein.

          6.      In response to the allegations contained in paragraph 6 of the Amended Complaint,

   Defendant admits that Douglas Perera, Sr. is the co-founder and service manager of Air Pros LLC,

   that he is over the age of 18, and that he resides in Broward County, Florida, but denies all other

   allegations contained therein.

          7.      In response to the allegations contained in paragraph 7 of the Amended Complaint,

   Defendant admits that its principal place of business is in Broward County, Florida, but denies all

   other allegations contained therein.

          8.      Defendant denies the allegations contained in paragraph 8 of the Amended

   Complaint.

                                    JURISDICTION AND VENUE

          9.      In response to the allegations contained in paragraph 9 of the Amended Complaint,

   Defendant admits that this purports to be an action under the Lanham Act and state law, and that

   this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1338 and 1367, but denies that

   Plaintiff is entitled to any such relief and further denies all other allegations contained therein.

          10.     In response to the allegations contained in paragraph 10 of the Amended Complaint,

   Defendant admits that this Court has personal jurisdiction over the Defendants, but denies all other

   allegations contained therein.

          11.     In response to the allegations contained in paragraph 11 of the Amended Complaint,

   Defendant admits that venue is proper, but denies all other allegations contained therein.




                                                      2
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 3 of 11
                                                                     Case No. 0:19-cv-62437-KMM


                                    FACTUAL BACKGROUND

           12.     Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations in paragraph 12 of the Amended Complaint.

           13.     Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations in paragraph 13 of the Amended Complaint.

           14.     Defendant denies the allegations contained in paragraph 14 of the Amended

   Complaint.

           15.     Defendant denies the allegations contained in paragraph 15 of the Amended

   Complaint.

           16.     Defendant denies the allegations contained in paragraph 16 of the Amended

   Complaint.

           17.     Defendant denies the allegations contained in paragraph 17 of the Amended

   Complaint.

           18.     Defendant denies the allegations contained in paragraph 18 of the Amended

   Complaint. It appears that the original applicant of the registrant of the trademark referenced in

   paragraph 18 committed a fraud on the U.S. Patent and Trademark Office (“USPTO”) when, upon

   information and belief, it made knowingly false representations under penalty of perjury in

   connection with the trademark application referenced in paragraph 18, and because the applicant

   knew that disclosure of the true facts, if disclosed, would have resulted in the USPTO refusing

   registration.

           19.     Defendant denies the allegations contained in paragraph 19 of the Amended

   Complaint. It appears that the applicant of the trademark referenced in paragraph 19 committed

   fraud on the State of Florida when, upon information and belief, it made knowingly false




                                                   3
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 4 of 11
                                                                       Case No. 0:19-cv-62437-KMM


   representations under penalty of perjury in connection with the trademark application, and because

   the applicant knew that disclosure of the true facts, if disclosed, would have resulted in the State

   of Florida refusing registration. Indeed, certain facts stated in the state trademark application are

   contradictory to similar statements made in connection with the federal trademark registration

   referenced in paragraph 18.

           20.     Defendant denies the allegations contained in paragraph 20 of the Amended

   Complaint. As alleged in response to the allegations contained in paragraph 18, Defendant has

   reason to believe that the registration at issue was procured through fraud, and as a result, the

   registration at issue is void.

           21.     Defendant denies the allegations contained in paragraph 21 of the Amended

   Complaint.

           22.     Defendant denies the allegations contained in paragraph 22 of the Amended

   Complaint. As alleged in response to the allegations contained in paragraph 18, Defendant has

   reason to believe that the registration at issue was procured through fraud, and as a result, the

   registration at issue is void.

           23.     Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations in paragraph 23 of the Amended Complaint.

           24.     Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations in paragraph 24 of the Amended Complaint.

           25.     Defendant denies the allegations contained in paragraph 25 of the Amended

   Complaint.

           26.     Defendant denies the allegations contained in paragraph 26 of the Amended

   Complaint.




                                                    4
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 5 of 11
                                                                   Case No. 0:19-cv-62437-KMM


          27.    Defendant denies the allegations contained in paragraph 27 of the Amended

   Complaint.

          28.    Defendant denies the allegations contained in paragraph 28 of the Amended

   Complaint.

          29.    Defendant denies the allegations contained in paragraph 29 of the Amended

   Complaint.

          30.    Defendant denies the allegations contained in paragraph 30 of the Amended

   Complaint, and further denies that the newspaper article attached to the Amended Complaint as

   Exhibit C supports the allegations contained in paragraph 30.

          31.    Defendant denies the allegations contained in paragraph 31 of the Amended

   Complaint.

          32.    Defendant denies the allegations contained in paragraph 32 of the Amended

   Complaint, and further denies that the newspaper articles attached to the Amended Complaint as

   Exhibit C supports the allegations contained in paragraph 32.

          33.    Defendant denies the allegations contained in paragraph 33 of the Amended

   Complaint.

          34.    Defendant denies the allegations contained in paragraph 34 of the Amended

   Complaint.

          35.    Defendant denies the allegations contained in paragraph 35 of the Amended

   Complaint.

          36.    Defendant denies the allegations contained in paragraph 36 of the Amended

   Complaint.




                                                  5
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 6 of 11
                                                                        Case No. 0:19-cv-62437-KMM


           37.     Defendant denies the allegations contained in paragraph 37 of the Amended

   Complaint.

           38.     Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations in paragraph 38 of the Amended Complaint.

           39.     Defendant denies the allegations contained in paragraph 39 of the Amended

   Complaint.

           40.     Defendant denies the allegations contained in paragraph 40 of the Amended

   Complaint.

           41.     Defendant denies the allegations contained in paragraph 41 of the Amended

   Complaint.

           42.     Defendant denies the allegations contained in paragraph 42 of the Amended

   Complaint.

           43.     Defendant lacks knowledge or information sufficient to form a belief as to the

   allegations contained in paragraph 43 of the Amended Complaint relating to the nature of

   Plaintiff’s relationship with its counsel, and denies all other allegations contained therein.

                                     COUNT I
                     TRADEMARK INFRINGEMENT UNDER 15 U.S.C. §1114

           44.     In response to the allegations in paragraph 44 of the Amended Complaint,

   Defendants repeat their responses to paragraphs 1 through 43 of the Amended Complaint.

           45.     Defendant denies the allegations contained in paragraph 45 of the Amended

   Complaint. As alleged in response to the allegations contained in paragraph 18, Defendant has

   reason to believe that the registration at issue was procured through fraud, and as a result, the

   registration at issue is void.




                                                     6
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 7 of 11
                                                                  Case No. 0:19-cv-62437-KMM


          46.     Defendant denies the allegations contained in paragraph 46 of the Amended

   Complaint.

          47.     Defendant denies the allegations contained in paragraph 47 of the Amended

   Complaint.

          48.     Defendant denies the allegations contained in paragraph 48 of the Amended

   Complaint.

          49.     Defendant denies the allegations contained in paragraph 49 of the Amended

   Complaint.

                                     COUNT II
                UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
                                UNDER 15 U.S.C. §1125

          50.     In response to the allegations in paragraph 50 of the Amended Complaint,

   Defendants repeat their responses to paragraphs 1 through 43 of the Amended Complaint.

          51.     Defendant denies the allegations contained in paragraph 51 of the Amended

   Complaint.

          52.     Defendant denies the allegations contained in paragraph 52 of the Amended

   Complaint.

          53.     Defendant denies the allegations contained in paragraph 53 of the Amended

   Complaint.

          54.     Defendant denies the allegations contained in paragraph 54 of the Amended

   Complaint.

          55.     Defendant denies the allegations contained in paragraph 55 of the Amended

   Complaint.




                                                 7
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 8 of 11
                                                                    Case No. 0:19-cv-62437-KMM


          56.    Defendant denies the allegations contained in paragraph 56 of the Amended

   Complaint.

          57.    Defendant denies the allegations contained in paragraph 57 of the Amended

   Complaint.

                                     COUNT III
                       DECEPTIVE AND UNFAIR TRADE PRACTICES
                           UNDER FLA. STAT. §§ 501.201 et seq.

          58.    In response to the allegations in paragraph 58 of the Amended Complaint,

   Defendants repeat their responses to paragraphs 1 through 43 of the Amended Complaint.

          59.    Defendant denies the allegations contained in paragraph 59 of the Amended

   Complaint.

          60.    Defendant denies the allegations contained in paragraph 60 of the Amended

   Complaint.

                                  COUNT IV
                TRADEMARK INFRINGEMENT UNDER FLA. STAT. §495.131

          61.    In response to the allegations in paragraph 61 of the Amended Complaint,

   Defendants repeat their responses to paragraphs 1 through 43 of the Amended Complaint.

          62.    Defendant denies the allegations contained in paragraph 62 of the Amended

   Complaint.

          63.    Defendant denies the allegations contained in paragraph 63 of the Amended

   Complaint. As indicated in response to the allegations contained in paragraph 19, it appears that

   the applicant of the trademark referenced in paragraph 63 committed fraud on the State of Florida

   when, upon information and belief, it made knowingly false representations under penalty of

   perjury in connection with the trademark application, and because the applicant knew that

   disclosure of the true facts, if disclosed, would have resulted in the State of Florida refusing



                                                  8
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 9 of 11
                                                                       Case No. 0:19-cv-62437-KMM


   registration. Indeed, certain facts stated in the state trademark application are contradictory to

   similar statements made in connection with the federal trademark registration referenced in

   paragraph 18.

           64.     Defendant denies the allegations contained in paragraph 64 of the Amended

   Complaint.

           65.     Defendant denies the allegations contained in paragraph 65 of the Amended

   Complaint.

           66.     Defendant denies the allegations contained in paragraph 66 of the Amended

   Complaint.

                                        PRAYER FOR RELIEF

           67.     Defendant denies that Plaintiff is entitled to any of the relief sought in the Prayer

   for Relief.

           68.     Defendant denies any and all allegations that have not been admitted or to which

   Defendants have not otherwise responded.

                                      AFFIRMATIVE DEFENSES

                                         First Affirmative Defense

           The Amended Complaint fails to state a claim upon which relief may be granted.

                                       Second Affirmative Defense

           This Court lacks subject matter jurisdiction over the claims.

                                        Third Affirmative Defense

           Plaintiff lacks standing to assert the claims in the Amended Complaint.

                                       Fourth Affirmative Defense

           Plaintiff failed to join an indispensable party.




                                                      9
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 10 of 11
                                                                        Case No. 0:19-cv-62437-KMM


                                        Fifth Affirmative Defense

          The Amended Complaint fails to allege sufficient factual allegations to state a claim to

   relief that is plausible on its face as required under Rule 8.

                                        Sixth Affirmative Defense

          Plaintiff’s claims for relief are barred, in whole or in part, by the doctrine of unclean hands,

   including without limitation, claiming to have rights that were predicated upon the commission of

   a fraud on the U.S. Patent and Trademark Office.

                                       Seventh Affirmative Defense

          Plaintiff’s claims for relief are barred by virtue of Plaintiff’s failure to comply with the

   requirements of the Lanham Act, 15 U.S.C. §1051 et seq.

                                       Eighth Affirmative Defense

          Plaintiff’s claims for damages and attorney’s fees are barred by virtue of Plaintiff’s failure

   to properly mark its trademarks.

                                        Ninth Affirmative Defense

          Plaintiff’s claims for damages and attorney’s fees are barred by virtue of Plaintiff’s failure

   to satisfy the notice requirements under 15 U.S.C. §1111.

                                        Tenth Affirmative Defense

          Plaintiff’s trademark registrations are void due to fraud on the U.S. Patent and Trademark

   Office and the State of Florida.

                                      Eleventh Affirmative Defense

          Plaintiff’s claims for damages are barred by virtue of Plaintiff’s failure to take reasonable

   steps to mitigate its alleged damages.




                                                     10
Case 0:19-cv-62437-KMM Document 32 Entered on FLSD Docket 12/31/2019 Page 11 of 11
                                                                   Case No. 0:19-cv-62437-KMM


          WHEREFORE, Defendant respectfully requests that this Court enter judgment in favor

   Defendant and against Plaintiff on all claims; Defendant also respectfully request an award of

   reasonable attorney’s fees pursuant to 15 U.S.C. §1117 and Florida Statutes §§ 501.2105 and

   495.141, and costs. Finally, Defendant respectfully request such additional relief as this Court

   deems to be just and proper.

                                               Respectfully submitted,

                                                     s/ Samuel A. Lewis
                                               By:___________________________
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                                                 11
